                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           EASTERN DIVISION

                                No.4=20-CJ<--l q~\ BO
UNITED STATES OF AMERICA                )
                                        )
              V.                        )      CRIMINAL INFORMATION
                                        )
ADRIENNE JEANINE WILLIAMS               )


      At all times relevant, the United States Attorney charges that:

      1.     The Defendant, ADRIENNE JEANINE WILLIAMS, was a resident of

Rocky Mount, North Carolina, within the Eastern District of North Carolina.

      2.     WILLIAMS was the owner and operator of Ultimate Tax Service, a tax

preparation business, which was located in Rocky Mount, North Carolina, wihtin the

Eastern District of North Carolina.

      3.     The Internal Revenue Service ("IRS") was an agency of the United

States Department of the Treasury responsible for administeringthetaxlawsofthe.

UnitedStatesandcollectingtaxes owed to the United States.

      4.     An Electronic Filing Identification Number ("EFIN") was a unique

number issued by the IRS to individuals or firms that had been approved as

Authorized IRS e-File providers.

      5.     A Preparer Tax Identification Number ("PTIN") was a unique number

issued by the IRS to paid tax .return preparers. •




           Case 4:20-cr-00079-BO Document 1 Filed 08/24/20 Page 1 of 4
      6.      : IRS Forms 1099 were used to report var10us non-salary mcome

distributions and payments of taxes through withholdings.

      7.       Beginning no later than in or around November 2009, and continuing

up to and through in or about April 2017, within the Eastern District of North

Carolina and elsewhere, WILLIAMS, Co-Conspirator 1, Co-Conspirator 2, and others

did knowingly and intentionally conspire, combine, confederate, and agree together

and with each other to defraud the United States for the purpose of impeding,

impairing, obstructing, and defeating the lawful government functions of the IRS in

the ascertainment, computation, assessment, and collection of federal income taxes.

                    MANNER AND MEANS OF THE CONSPIRACY

      8.      It was part of the conspiracy that WILLIAMS, in order to enrich herself

and others, aided and assisted in the filing of false United States Individual Tax

Returns (IRS Forms 1040, 1040A, and 1040EZ), which claimed false tax refunds to

which the taxpayers were not entitled to receive.

      9.      It was further part of the conspiracy that WILLIAMS trained UTS

employees, including Co-Conspirators 1 and 2, how to prepare false United States

Individual Tax Returns by including false federal income tax withholdings on

Forms 1099, among other false items, to generate fraudulent refunds.

                      OVERT ACTS OF THE CONSPIRACY

      10.     On or about November 16, 2009, WILLIAMS caused an EFIN ending

1387 in the business name of Ultimate Tax Service to be issued in the name of

WILLIAMS, which WILLIAMS and others then used to file false tax returns.



                                          2
            Case 4:20-cr-00079-BO Document 1 Filed 08/24/20 Page 2 of 4
      11. ·    On or about December 16, 2010, WILLIAMS caused the renewal of

Ultimate Tax Service's subscription to Drake Software's tax preparation software, in

the business name of Ultimate Tax Service to be issued in the name of WILLIAMS,

which WILLIAMS and others then used to file false tax returns.

      12.      On or about February 18, 2014 and January 20, 2015, WILLIAMS

caused the opening of checking accounts ending 7981 and 0703 at Woodforest

National Bank to receive payment for assisting others in the filing of false tax

returns.

      13.      On or about the dates listed below, WILLIAMS, Co-Conspirator 1, Co-

Conspirator 2, and others, caused the filing of false United States Individual Income

Tax Return (Forms 1040, 1040A, and 1040EZ) for the following taxpayers that were

false and fraudulent as to a material matter:

OVERT TAXPAYER APPROXIMATE                    TAX YEAR           FALSE ITEM
 ACT                DATE OF
                     FILING
  A.    C.M.    02/14/2012                       2011    Form   1040, line 62
  B.    C.M.  · 03/04/2013                       2012    Form   1040EZ, line 7
  C.    C.M.    02/09/2014                       2013    Form   1040, line 62
  D.    C.M.    02/09/2015                       2014    Form   1040, line 64
  E.    C.M.    02/21/2016                       2015    Form   1040, line 64
  F.     R.J.   02/11/2014                      .2013    Form   1040, line 62
  G.     R.J.   02/02/2015                       2014    Form   1040, line 64
  H.     R.J.   01/26/2016                       2015    Form   1040, line 64
  I.     R.J.   02/06/2017                       2016    Form   1040, line 64
  J.     J.H.   01/26/2012                       2011    Form   1040A, line 7
  K.     J.H.   01/29/2013                       2012    Form   1040A, line 36
  L.     J.H.   01/24/2014                       2013    Form   1040A, line 36
  M.     J.H.   01/15/2015                       2014    Form   1040A, line 40
  N.     J.H.   01/18/2016.                      2015    Form   1040A, line 40
  0.     J.H.   01/23/2017                       2016    Form   1040A, line 40
  P.    P.M.    03/23/2013                       2012    Form   1040EZ, line 7


                                          3
            Case 4:20-cr-00079-BO Document 1 Filed 08/24/20 Page 3 of 4
Q.       P.M.      02/19/2014           2013         Form 1040A, line 36
S.       P.M.      03/10/2015           2014         Form 1040EZ, line 7
T.       P.M.    . 02/02/2016           2015         Form 1040A, line 40
U.       V.D.      04/04/2013           2012         Form 1040, line 62
V.       V.D.      02/03/2014           2013         Form 1040, line 62
w.       V.D.      02/10/2015           2014         Form 1040, line 64: ·
X.       V.D.      02/09/2016           2015         Form 1040, line 64.
Y.       J.L.      03/13/2015           2014         Form 1040A, line 40
Z.       J.L.      02/06/2016           2015         Form 1040A, line 40
AA.      J.L.      02/08/2017           2016         Form 1040A, line 40
AB.      F.H.      02/06/2013           2012         Form 1040EZ, line 7
AC.      F.H.      04/07/2014           2013         Form 1040A, line 36
AD.      F.H.      02/25/2015           2014         Farin 1040, line 64
AE.      F.H.      01/26/2016           2015         Form 1040, line 64
AF.      F.H.      02/20/2017           2016       . Form 1040, line 64
AG.      M.L.      02/18/2012           2011         Form 1040A, line 36
AH.      M.L.      01/29/2013           2012         Form 1040, line 62
AL       M.L.      02/09/2014           2013         Form 1040A, line 36
AJ.      M.L.      02/08/2015   I       2014      . Form 1040A, line 40
AK.      M.L.      02/04/2016           2015         Form 1040A, line 40
AL.      M.L.      02/07/2017           2016         Form 1040A, line 40 ·
AM.      S.F.      02/28/2014           2013         Form 1040A; line 36
AN.      S.F.      02/05/2015           2014         Form 1040A, line 40
AO.      S.F.      01/30/2016           2015         Form 1040A, line 40
AP.      S.F.      02/16/2017           2016     . Form 1040A, 1ine40




                                        MICHAEL L. JONES·
                                        Trial Attorney, Tax Div~sion




                                    4
      Case 4:20-cr-00079-BO Document 1 Filed 08/24/20 Page 4 of 4
